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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

 In Re:                                           Case No. 16-08360-JMC-13

 Stephen Jay Wilkey
                                                  Chapter 13
 Constance Lynn Wilkey

 Debtors                                          Judge James M. Carr

                                 CERTIFICATE OF SERVICE

I certify that on November 6, 2020, a copy of the foregoing Notice of Mortgage Payment Change
was filed electronically. Notice of this filing will be sent to the following party/parties through
the Court’s ECF System. Party/parties may access this filing through the Court’s system:

          Janet Davis Hocker, Debtors’ Counsel
          Janet.hocker@hockerlaw.com

          John Morgan Hauber, Trustee
          ecfmail@hauber13.com

          Office of the U.S. Trustee
          ustpregion10.in.ecf@usdoj.gov

I further certify that on November 6, 2020, a copy of the foregoing Notice of Mortgage Payment
Change was mailed by first-class U.S. Mail, postage prepaid and properly addressed to the
following:

          Stephen Jay Wilkey, Debtor
          11379 Governors Lane
          Fishers, IN 46037
Case 16-08360-JMC-13    Doc    Filed 11/06/20   EOD 11/06/20 15:34:15    Pg 6 of 6




    Constance Lynn Wilkey, Debtor
    11379 Governors Lane
    Fishers, IN 46037


                                        Respectfully Submitted,

                                        /s/ Molly Slutsky Simons
                                        Molly Slutsky Simons (OH 0083702)
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                                        Loveland, OH 45140
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